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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00305-DDD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MICHAEL ARON TEW,

       Defendant.


     GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
     MOTION TO SUPPRESS THE USE OF STATEMENTS [ECF No. 216]


       In his “Motion to Suppress the Use of Statements,” (Defendants' Motion),

Defendant M. Tew requests that this Court suppress statements made by him on or

about July 8, 2020. ECF No. 216, ¶ 15. For the reasons set forth below, the United

States respectfully requests the Court deny the Defendant’s Motion, as Defendant

was not in custody at the time the statements were made.

                        DEFENDANT WAS NOT IN CUSTODY

      Defendant raises the discrete issue whether there was a violation of the

Miranda v. Arizona, 384 U.S. 436 (1966). 1 Id. ¶ 4. Specifically, Defendant claims he

was subjected to a custodial interrogation, without a Miranda warning, at the time



1     Defendant does not claim the statements were made involuntarily in violation of due process.
See ECF. No. 216.
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statements were made. ECF No. 216, ¶ 11, 14. The government does not dispute

that Defendant was not provided Miranda warnings before being questioned. Thus,

the sole issue is whether Defendant was in custody. The government asserts that

Defendant has not established his burden to show illegality, and further that the

circumstances, when objectively considered, indicate Defendant was not in custody

at the time statements were made.

   a. Custodial status is objectively determined.

     “[P]olice officers are not required to administer Miranda warnings to everyone

whom they question.” Oregon v. Mathiason, 429 U.S. 492, 495 (1977). Miranda

warnings must be given only if a subject is “in custody” and subject to

“interrogation.” Illinois v. Perkins, 496 U.S. 292, 297 (1990); United States v. Jones,

523 F.3d 1235, 1239 (10th Cir. 2008). A defendant bears the initial burden of

presenting evidence sufficient to challenge the legality of the confession. United

States v. Crocker, 510 F.2d 1129, 1135 (10th Cir. 1975), abrogated on other grounds

by United States v. Bustillos-Munoz, 235 F.3d 505 (10th Cir. 2005). Once that

showing has been met, the government must show, by a preponderance of the

evidence, that the defendant’s rights were not violated. United States v. Gell-Iren,

146 F.3d 827, 830 (10th Cir. 1998).

       A person is in “custody” when he or she is “deprived of [] freedom of action in

any significant way,” or his or her “freedom of action is curtailed to a ‘degree

associated with formal arrest.” United States v. Chee, 514 F.3d 1106, 1112 (10th


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Cir. 2008). This objective determination turns on whether “a reasonable person

[would] have felt he or she was not at liberty to terminate the interrogation and

leave.” Howes v. Fields, 565 U.S. 499, 509 (2012); see United States v. Rogers, 391

F.3d 1165, 1171 (10th Cir. 2004) (applying objective test); United States v. Erving

L., 147 F.3d 1240, 1247 (10th Cir. 1998) (same). In applying this test, courts must

examine “all of the circumstances surrounding the questioning,” a totality of the

circumstances, including well-established factors of (1) the location of questioning,

(2) its duration, (3) statements made during interview, (4) presence or absence of

physical restraints during the questioning, and (5) the release of the interviewee at

the end of questioning. Howes, 565 U.S. at 509 (internal citations omitted). 2

    b. Agents’ intentions are not a factor in custodial analysis.

       Turning to the present case, Defendant has not established his burden in

showing illegality. In attempting to establish that he was in custody, requiring a

Miranda warning, Defendant primarily argues that agents’ intentions to arrest or

belief that he was already under arrest during the interview is the dominant factor

in the analysis. See ECF No. 216, ¶¶ 3 (alleging agents were sent by federal

prosecutor to arrest him if he tried to flee), 5 (alleging agents did not advise

Defendant despite his being under arrest), 6 (alleging agents lulled Defendant into

belief he was not under arrest).



2       Defendant cites United States v. Wagner, 951 F.3d 1232, 1250 (10th Cir. 2020) for non-
exclusive factors in custodial analysis. The Wagner factors are merely variations of those in Howes,
and custodial analysis is the same regardless of the authority applied.

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       The government here does not concede any of the facts Defendant asserts on

this point. But even assuming they are true, the subjective intentions or beliefs of

law enforcement are not a factor for the Court to consider. The Tenth Circuit has

stated this directly in United States v. Griffin, 7 F.3d 1512, 1518 n.7 (10th Cir.

1993) (the test is objective, “subjective intent of an officer to arrest or place the

suspect in formal custody is irrelevant”) (“Griffin 1993). See also Berkemer v.

McCarthy, 468 U.S. 420, 421-422 (1984) (“A policeman’s unarticulated plan has no

bearing on the question whether a suspect was ‘in custody’ at a particular time; the

only relevant inquiry is how a reasonable person in the suspect’s position would

have understood his situation”). Accordingly, the Court should decline to consider

any facts pointing to agents’ intentions or beliefs, as these do not support any of the

factors under objective custodial analysis.

   c. The circumstances indicate Defendant was not in custody.

       Even if the Court is persuaded that Defendant has somehow met his burden

in his motion, the Government asserts that other factors, when objectively

considered, indicate that Defendant’s freedom of action was not restrained to

establish custody. No Miranda advisement was thus needed.

       First, the location of questioning demonstrates Defendant was not in custody.

Defendant was interviewed in a “common area” behind his apartment at his request




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after being asked to speak privately. See Ex. 1, ¶ 2-3 (memorandum of interview). 3

He was not separated from his wife, co-Defendant Kimberley Tew (who participated

in the interview throughout), nor was he interrogated in a nonpublic questioning

room. See id.; see Griffin, 7 F.3d at 1518-1519 (separation from moral support and

nonpublic location both consideration). Defendant makes no attempt to argue that

the location here weighs for or against his custodial status. Rather, he merely states

that the factor is not dispositive (no factor is dispositive) and further cites cases that

found the factor outweighed by other factual circumstances. See Defendant’s Motion

at ¶ 12 (citing Orozco v. Texas, 394 U.S. 324, 327 (1969) (older, sparsely reasoned

case where Court determined custody when officers admitted the defendant was

under arrest); Sprosty v. Buchler, 79 F.3d 635, 641 (7th Cir. 1996) (officers

physically restrained the defendant); United States v. Griffin, 922 F.2d 1343, 1354

(8th Cir. 1990) (officers physically restrained the defendant)).

       It remains that courts have found this factor significant in the custodial

analysis, as the Tenth Circuit stated in United States v. Ritchie: “[C]ourts are much

less likely to find the circumstances custodial when the interrogation occurs in

familiar or at least neutral surroundings,” such as the suspect’s home.” 35 F.3d

1477, 1485 (10th Cir. 1994). This Court should conclude that the location was

familiar to Defendant, as he requested the location to speak, see Ex. 1, ¶ 2., and




3       Note, the conversations were not recorded, as co-Defendant Kimberley Tew did not consent
to recording. Id., ¶ 4.

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thus that this factor weighs against any finding that the defendant was in custody.

Griffin, 7 F.3d at 1519-1520 (considering location under the umbrella factor of police

dominated atmosphere).

      Second, the limited duration of the interview demonstrates Defendant was

not in custody. Specifically, agents were in contact with Defendant from

approximately 2:50 pm to 3:49 pm but only engaged in active conversation with him

from 3:12 pm to 3:49 pm. Ex. 1, ¶¶ 1 2, 4, 10. During that conversation, agents

asked him about his employment with NAC and otherwise conducted limited

questioning directed at their investigation. Griffin, 7 F.3d at 1518 (nature of

questioning is a factor). The interview did not last “for over an hour” as Defendant

alleges. See ECF No. 216, ¶ 4.

      Third, statements made during the interview demonstrate Defendant was

not in custody when looking at the totality of the circumstances. Both Defendant

and co-Defendant Kimberly Tew (who was also present and whose statement should

be considered as a part of the totality) made statements during the interview,

demonstrating their understanding that they were not in custody. At the beginning

of the interview by Special Agent Anderson, co-Defendant declined to answer

questions and declined recording, indicating her understanding that they were free

to decline to answer questions. See Ex. 1, ¶¶ 3, 4. Later, both Defendants declined to

answer further questioning and requested they meet agents another time,

affirmatively showing their subjective belief that they were free to leave. Id. ¶¶ 7-


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10. In response, agents respected those wishes and agreed to set up another

meeting, taking no coercive actions to force compliance with questioning. Id. ¶¶ 8-

10.

      Fourth, the lack of physical restraints employed demonstrates Defendant was

not in custody. Defendant was unrestrained during the interview. There is no

indication he was handcuffed or under other restraints or at gunpoint. See Ex. 1;

Howes, 565 U.S. at 503 (considering handcuffs in its analysis); Ritchie, 35 F.3d at

1481 (same). In fact, Defendant admitted that he was not “grabbed” by agents,

demonstrating a lack of physical contact made. Ex. 1, ¶ 5; see Griffin, 7 F.3d at 1519

(considering physical contact under the umbrella factor of police dominated

atmosphere).

      Fifth, Defendant was not arrested during or after the interview itself,

demonstrating he was not in custody when the statements were made. At the

conclusion of the interview, at approximately 3:49 pm, Defendant left; he went

inside his residence from the common area, closed the door, and lowered the blinds,

outside the presence of agents. Ex. 1, ¶ 10. Defendant was not arrested at the end of

the interview, as he alleges. ECF No. 216, ¶ 11. Rather, only after a break in

contact, agents reinitiated contact at 4:11 pm with Defendant at the apartment and

arrested him. See id. ¶ 11; Ex. 2, ¶ 1 (memorandum of activity). Regardless, this

later arrest is irrelevant because it was not part of the interview from which

Defendant made statements and left to enter his apartment free from agents.


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      Overall, the factors weigh against a finding that Defendant was in custody.

Miranda warnings were not required, and the statements should not be suppressed.

                                 CONCLUSION


      The Court should deny the Defendant’s Motion without a hearing for all of

the reasons set forth above.

                               Respectfully submitted this 9th day of August, 2022,

                                             COLE FINEGAN
                                             United States Attorney

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Certification of Type-Volume Limitation

       I hereby certify that the foregoing pleading complies with the type-volume
limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                   /s/ Albert Buchman
                                                   Albert Buchman




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Statement of Speedy Trial Impact

      Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
that this motion will not affect the speedy trial clock in this case because any
resolution of it will be within the already-granted ends-of-justice continuance granted
on May 12, 2022, ECF No. 198.

                                                     /s/ Albert Buchman
                                                     Albert Buchman


                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 9, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which system
automatically provides a copy to defense counsel of record.



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